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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

United States of America,

            Plaintiff,
v.                                                       ORDER
                                                         Criminal No. 97‐276(22)

Antonie Brown,

           Defendant.
____________________________________________________________________

      Jeffrey S. Paulsen, Assistant United States Attorney, for and on behalf of
the United States of America.

      Defendant, appearing pro se.
____________________________________________________________________

      This matter is before the Court on Defendant’s motion for a furlough from

the Bureau of Prisons in order to allow him to file a FAFSA application and to

present academic documents to his case manager in order to prompt a

recommendation for additional residential reentry center (“RRC”) placement,

which would allow him to go through orientation at the RRC and prepare for

school, transportation and to establish and reestablish family and community

ties. He seeks a furlough from February 3, 2014 through February 10, 2014.

      The temporary release of a prisoner is governed by 18 U.S.C. § 3622, which


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provides the Bureau of Prisons the authority to grant a request for temporary

release under certain conditions. The Eighth Circuit has recognized that § 3622

vests authority to grant furloughs with the Bureau of Prisons, not the federal

courts. United States v. Premachandra, 78 F.3d 589, 1996 WL 102567 (8th Cir.

1996) (per curiam) (unpublished table decision). See also Bania v. Fed. Bureau of

Prisons, Civ. No. 10‐2212, 2011 WL 882096 (D. Minn. Feb. 24, 2011) (rejecting

argument that district court has authority to grant furlough from prison pursuant

to the All Writs Act).

      As this Court does not have the authority to grant the requested relief, the

same shall be denied.

      IT IS HEREBY ORDERED that Defendant’s Motion for Temporary

Furlough [Doc. No. 1589] is DENIED.

Date: December 19, 2013

                                      s/ Michael J. Davis
                                      Michael J. Davis
                                      Chief Judge
                                      United States District Court




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